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     VIRGINIA: IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN
                           DISTRICT OF VIRGINIA
                            Newport News Division

LEE HICKLIN

              Plaintiff

v.                                                         Case No.: 4:21-cv-34

CITY OF HAMPTON

              Defendant


                        DEFENDANT’S MOTION TO DISMISS
                      PLAINTIFF’S COMPLAINT PURSUANT TO
                    FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)

        Comes now, Defendant City of Hampton, by counsel, and moves this Court to dismiss

 the complaint filed in this action pursuant to Rule 12(b)(6) of the Federal Rules of Civil

 Procedure.

       WHEREFORE, for the reasons delineated more fully in the Defendant’s Brief in Support

of its Motion to Dismiss, which is incorporated herein, Defendant respectfully moves this Court

to dismiss the Complaint with prejudice and award any other relief which is appropriate.




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                                         Respectfully submitted,

                                         CITY OF HAMPTON

                                         By Counsel

                                            By:          /s/
                                                  Brandi A. Law
                                                  Virginia State Bar No. 76961
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                                                  Lola Rodriguez Perkins
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                                                  Counsel for the City of Hampton




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                                  Roseboro v. Garrison Warning

       To Lee Hicklin, Plaintiff pro se in the case of Lee Hicklin v. City of Hampton Civil Action

No. 4:21cv34, United States District Court for the Eastern District of Virginia, Newport News

Division:

       Pursuant to the Rules of the United States District Court for the Eastern District of

Virginia, the Defendant hereby warns you of the following:

       You are entitled to file a response opposing this motion and any such response must be

filed within twenty-one (21) days of the date on which this motion was filed. The Court could

dismiss the action on the basis of this motion if you do not file a response. You must identify all

facts stated in this motion with which you disagree and must set forth your version of the facts by

offering affidavits (written statements signed before a notary public and under oath) or by filing

sworn statements (bearing a certificate that it is signed under penalty of perjury). You are entitled

to file a legal brief in opposition to the one filed by the Defendants in support of this motion.




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on April 20, 2021, I will electronically file the foregoing

DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT PURSUANT TO

FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6) with the Clerk of Court using the CM/EFC

system. I further certify that I will mail the document and a copy of the notification of such filing

(NEF) by U.S. Mail to the following, it appears, non-filing user:

               Lee Hicklin
               12861 Daybreak Circle
               Newport News, VA 23602
               Lee.hicklin@gmail.com
               Pro se Plaintiff


                                                                     /s/
                                                      Brandi A. Law
                                                      Virginia State Bar No. 76961
                                                      Deputy City Attorney
                                                      City Attorney’s Office for Hampton, Virginia
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                                                      Hampton, Virginia 23669
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                                                      Email: lrperkins@hampton.gov
                                                      Counsel for the Defendant City of Hampton




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